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           16
                                        IN THE UNITED STATES DISTRICT COURT
           17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
           18                                     SAN JOSE DIVISION

           19    MATT JONES, BRYSON DECHAMBEAU,                       CASE NO. 5:22-cv-04486-BLF-SVK
                 PETER UIHLEIN, and LIV GOLF INC.,
           20                                                         DECLARATION OF SCOTT K. HVIDT
                                  Plaintiffs,
           21
                       v.
           22
                 PGA TOUR, INC.,
           23
                                  Defendant and Counter-
           24                     Plaintiff,

           25          v.

           26    LIV GOLF INC.,

           27                         Counter-Defendant.

           28
Gibson, Dunn &                                                    1
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            1           I, Scott K. Hvidt, hereby declare and state:
            2           1.      I am an attorney duly licensed to practice law before all the courts of the State of Texas,
            3    as well as the United States District Court for the Northern District of Texas. I am admitted to practice
            4    in the United States District Court for the Northern District of California in the above-entitled action
            5    on a pro hac vice basis. I am an associate attorney at the law firm of Gibson, Dunn & Crutcher LLP,
            6    and am one of the attorneys representing Plaintiffs in the above-entitled action. Unless otherwise
            7    stated, I have personal knowledge of the matters stated herein, and if asked to testify thereto, I would
            8    do so competently.
            9           2.      Throughout the litigation, I have been one of the attorneys managing the document
           10    production from Plaintiff LIV Golf Inc., other Plaintiffs, and former Plaintiffs. Along with my
           11    colleague, Ms. Lauren Dansey, I have been the attorney that communicates with counsel for Defendant
           12    PGA Tour, Inc. regarding discovery questions or disputes between the parties.
           13           3.      Following the November 18, 2022 deadline for substantial completion of the parties’
           14    productions, the parties communicated with one another about perceived deficiencies in the
           15    productions. For example, on November 23 and 30, 2022, Plaintiffs’ counsel sent emails to the Tour’s
           16    counsel identifying a major deficiency in the Tour’s production in which the Tour did not produce
           17    communications from almost all custodians after June 16, 2022—a gap longer than two months.
           18           4.      In the evening on November 28, 2022, the Tour’s counsel sent Plaintiffs’ counsel a five-
           19    paragraph email in which the Tour claimed deficiencies existed in LIV Golf’s productions. In the
           20    middle of one of the five paragraphs, the Tour’s counsel’s email stated “a reasonable search has not
           21    located the ‘Shareholder Agreement’ referenced in Dkt. 165-2 (Taylor. Decl.).” The correspondence
           22    did not provide a date by which the Tour needed the Shareholder Agreement to be produced, and it did
           23    not prioritize the production of that document above the eight other requests for supplemental
           24    production that were included in the e-mail. For example, in the same paragraph, the Tour requested
           25    agreements with the MENA Tour, broadcasters, and the Asian Tour, and requested that counsel for
           26    LIV Golf,, “[p]lease confirm whether you have produced all agreements between either LIV or P54
           27    and: (1) the MENA Tour; (2) the Asian Tour; and (3) any broadcaster. If such documents have been
           28    produced, please identify them by Bates number. If they have not been produced, please immediately

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            1    produce them.”
            2           5.      On November 29 and 30, 2022, I searched LIV Golf’s productions for the documents
            3    the Tour claimed were missing and identified that the Asian Tour agreement had been produced and
            4    identified that the response to the Tour’s document request for agreements with the MENA Tour was
            5    not yet due. I also performed searches and investigated the other issues in the Tour’s correspondence.
            6    I was not able to locate the Shareholder Agreement in LIV Golf’s productions. I investigated further
            7    and identified that the Shareholder Agreement was in second-level privilege review. Because the
            8    Shareholder Agreement includes the names of counsel, it was flagged to be included in heightened
            9    privilege review. Our understanding is that the Tour is following a similar procedure for its document
           10    production, as, on December 1, 2022, the Tour’s counsel represented to Plaintiffs’ counsel in writing
           11    that documents Plaintiffs have requested were in second-level privilege review after the substantial
           12    completion deadline and would be produced when the privilege review is complete.
           13           6.      Upon identifying the agreement, we promptly moved the Shareholder Agreement’s
           14    privilege review up in the review process. Upon reviewing the document, we confirmed that the
           15    document should not be withheld for privilege.
           16           7.      On November 30, 2022, I drafted a response that Ms. Dansey sent to the Tour’s counsel
           17    that informed the Tour’s counsel that the Shareholder Agreement would be in LIV Golf’s next
           18    production. At this time, the Tour’s counsel did not object to this approach. Nor did the Tour’s counsel
           19    inform us at this time that the Shareholder Agreement was needed on a shorter timeline or in advance
           20    of a particular briefing deadline.
           21           8.      Consistent with our representation to the Tour’s counsel, we added the Shareholder
           22    Agreement to LIV Golf’s next production set, and the Shareholder Agreement was in fact included in
           23    LIV Golf’s next production set after November 30, 2022, which was made on December 21, 2022. My
           24    colleagues and I worked hard to ensure all of the agreements the Tour referenced in its November 28,
           25    2022 email were included in the next production to the Tour.
           26           9.      At no point did LIV Golf or its counsel intentionally delay the production of the
           27    Shareholder Agreement. As described above, it was flagged for privilege review because there are
           28    attorney names in the document, and it was in the queue for privilege review, consistent with ordinary

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            1    production and review protocols. When the Tour’s counsel specifically asked about the document, we
            2    searched for it, identified it, moved it to the front of the privilege-review queue, and promptly put it
            3    into the next production set. We informed the Tour’s counsel about this approach within two days of
            4    receiving the Tour’s request for the document, and we received no objection from the Tour’s counsel.
            5           10.     Had the Tour requested a specific expedited production of this particular document, as
            6    opposed to a request immediate production of eight large and small and varied requests, we would have
            7    endeavored to oblige the request. For example, in response to the Tour’s counsel’s December 16, 2022
            8    oral request to provide a contract with a non-party by December 16, 2022, Performance54, Limited
            9    (UK) and LIV Golf provided the Tour’s counsel a copy of that contract on December 16, 2022, in a
           10    one-off exchange.
           11           11.     Later in the evening on Friday, December 16, 2022, the Tour asked LIV Golf to produce
           12    the Shareholder Agreement “no later than Wednesday, December 21st.” We complied with the request.
           13    Specifically, the Shareholder Agreement was produced on December 21, 2022, along with the other
           14    documents that cleared second-level privilege review by that date and responded to the inquiries from
           15    the Tour’s counsel.
           16           12.     Furthermore, upon request from the Tour’s counsel, LIV Golf’s counsel promptly
           17    identified the Shareholder Agreement in the document production by Bates number. Specifically, on
           18    December 22, 2022, the Tour’s counsel asked whether the Shareholder Agreement was produced. The
           19    next day, I identified to the Tour’s counsel a produced version of the Shareholder Agreement by Bates
           20    number.
           21           13.     The timing of the production of the Shareholder Agreement had nothing to do with the
           22    dispute between the Tour, on the one hand, and the Public Investment Fund of the Kingdom of Saudi
           23    Arabia or Yasir Al-Rumayyan on the other hand.
           24           14.     Based on data provided to me, LIV Golf has produced over 100,000 documents and
           25    over 360,000 pages. Specifically, LIV Golf has produced a lot of the documents that I understand the
           26    Tour seeks from the Public Investment Fund of the Kingdom of Saudi Arabia and Yasir Al-Rumayyan.
           27    For example, based on data provided to me, LIV Golf has produced at least the following:
           28

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            1                             PIF-Related Documents in LIV Golf’s Production
            2               Topic                                 Documents/ Bates Numbers
            3     LIV Golf Board Minutes       LIV Golf Board meeting minutes, including:
                                               LIV000198307; LIV000198323; LIV000134250; LIV000234307;
            4                                  LIV000248199; LIV000290447; LIV000295896; LIV000327873;
                                               LIV000329088; LIV000329361; LIV000342405
            5     LIV Golf Board               Presentations to the LIV Golf board, including:
                  Presentations                LIV000342309; LIV000001211; LIV000009922; LIV000014779;
            6                                  LIV000018743; LIV000057726; LIV000064337; LIV000132374;
                                               LIV000159584; LIV000204957; LIV000290394; LIV000304379;
            7                                  LIV000310747; LIV000012449
                  LIV Golf Financial           Hundreds of documents detailing LIV Golf’s financial projections,
            8     Projections                  including:
                                               LIV000334327; LIV000318008; LIV000306926; LIV000198905;
            9                                  LIV000331166; LIV000191650; LIV000190081; LIV000206119;
                                               LIV000001798; LIV000001503; LIV000001424; LIV000287795
           10     LIV Financials               Hundreds of documents detailing LIV Golf’s financial performance
           11     Communications with           1,444 documents with the top email sent to PIF
                  PIF individuals               351 documents with the top email from PIF
           12
                                                2,936 documents with PIF emails
           13                                   Numerous phone messages with PIF representatives
                                                900 documents with PIF in the filename
           14     Weekly Updates to PIF        More than 250 documents regarding weekly updates and briefings to
                                               PIF individuals
           15     Budget Approvals             More than 80 documents relating to budget approval.
           16

           17     PIF Board Resolutions        LIV000163273; LIV000163274; LIV000163276; LIV000208214.
           18

           19     PIF individuals’             LIV000031727; LIV000324956; LIV000033291; LIV000033322;
                  meetings with players        LIV000162728; LIV000181917; LIV000250080; LIV000313826
           20
                  Agreements with PIF          Over a dozen agreements with PIF
           21

           22           I declare under penalty of perjury under the laws of the State of California, the State of Texas
           23    and the United States of America that the foregoing is true and correct and that I executed this
           24    Declaration on January 11, 2022, at Dallas, Texas.
           25

           26                                                    /s/ Scott K. Hvidt

           27

           28

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